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 4                                                                            JS-6
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 8                                 UNITED STATES DISTRICT COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
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11    AL BOLER, Individually and On                ) CASE NO. 2:15-cv-01280-FMO-JPR
                                                   )
12    Behalf of All Others Similarly               ) ORDER RE: STIPULATION TO
      Situated,                                    ) DISMISS ACTION
13                                                 )
                                                   )
14                               Plaintiff,        )
                     vs.                           )
15                                                 )
                                                   )
16    CREDIT MANAGEMENT, LP,                       )
                                                   )
17                                                 )
                                 Defendant.        )
18                                                 )
                                                   )
19                                                 )
                                                   )
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22
                     The Court has reviewed the Stipulation to Dismiss of Plaintiff AL BOLER

23    and Defendant CREDIT MANAGEMENT, LP (collectively referred to as “the
24    Parties”).           Good cause appearing, the Court grants the Parties’ Stipulation to
25    Dismiss the entire action.
26    ///
27    ///
28    ///


      {00037166;1}                                 1
                                                                      ORDER RE STIPULATION TO DISMISS
      08113.20                                                           CASE NO. 2:15-cv-01280-FMO-JPR
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 1                   As stipulated by the Parties, the action is dismissed with prejudice as to
 2    Plaintiff AL BOLER, individually, and dismissed without prejudice as to the
 3    putative class members, pursuant to Federal Rule of Civil Procedure
 4
      41(a)(1)(A(ii). Each party is to bear their respective attorneys’ fees and costs.
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 6    IT IS SO ORDERED.
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      Dated: September 10, 2015                        /s/ Fernando M. Olguin
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                                                   UNITED STATES DISTRICT JUDGE
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      {00037166;1}                                 2
                                                                       ORDER RE STIPULATION TO DISMISS
      08113.20                                                            CASE NO. 2:15-cv-01280-FMO-JPR
